         Case 24-12563-SLM       Doc 63    Filed 05/08/24 Entered 05/09/24 09:47:32                Desc Main
                                           Document Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330                                                                 Order Filed on May 8, 2024
                                                                          by Clerk,
FAIRFIELD, NJ 07004-1550                                                  U.S. Bankruptcy Court
973-227-2840                                                              District of New Jersey



IN RE:                                                       Case No.: 24-12563SLM
 MARK HAYNES
                                                             Hearing Date: 5/8/2024

                                                             Judge: STACEY L. MEISEL




                              INTERIM ORDER ON CONFIRMATION HEARING

   The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




         DATED: May 8, 2024
        Case 24-12563-SLM            Doc 63     Filed 05/08/24 Entered 05/09/24 09:47:32                  Desc Main
 Debtor(s): MARK HAYNES                         Document Page 2 of 2

 Case No.: 24-12563SLM
 Caption of Order:  INTERIM ORDER ON CONFIRMATION HEARING

       THIS MATTER having been scheduled before the Court on 05/08/2024 for a Hearing on Confirmation, and
good sufficient cause having been shown, it is:


     ORDERED, that Debtor must provide the Trustee with all necessary documents in order for a 341(a) meeting to be
     conducted and concluded by the next Confirmation hearing on 6/12/2024 or the case may be dismissed without
     further hearings or notice to debtor or debtor's attorney; and it is further
     ORDERED, that debtor must become current with plan payments through June 2024 for a total of $2 ,943.00 by
     6/10/2024 or the case may be dismissed without further hearings or notice to debtor or debtor's attorney ; and it is
     further
     ORDERED, that Debtor must file an amended modified plan and motion(s) objecting to claim(s) by 5/31/2024 or
     the case may be dismissed without further hearings or notice to debtor or debtor's attorney; and it is further
     ORDERED, that if satisfied, the Confirmation Hearing will be adjourned to 6/12/2024 via Court Solutions. Debtor
     must visit www.court-solutions.com and register to appear at the hearing telephonically
